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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 20-8781 PA (MRWx)                                          Date    June 8, 2022
 Title             Dennis Seider et al. v. City of Malibu


 Present: The Honorable          PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
         Kamilla Sali-Suleyman                              Not Reported                          N/A
                 Deputy Clerk                               Court Reporter                     Tape No.
                Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                             None                                                 None
 Proceedings:                 IN CHAMBERS - COURT ORDER

        On June 1, 2022, the United States Court of Appeals for the Ninth Circuit issued a
Memorandum Decision affirming in part, vacating in part, and remanding the action to this
Court. The Court administratively re-opens the action. The Court will issue further orders once
it receives the Mandate from the Ninth Circuit.

         IT IS SO ORDERED.




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